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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MIKE CARLSON,                                    §
                                                 §
               Plaintiff,                        §
                                                 §
       v.                                        §   No. 4:13-cv-2739
                                                 §
GC SERVICES, LP.                                 §
                                                 §
               Defendant.                        §

                                 PLAINTIFF’S COMPLAINT

       MIKE CARLSON (“Plaintiff”), through his attorneys, KROHN & MOSS, LTD., alleges the

following against GC SERVICES, LP. (“Defendant”):

                                        INTRODUCTION

       1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act (“FDCPA”),

15 U.S.C. § 1692, et seq.

       2.      Count II of Plaintiff’ Complaint is based on Texas Statute, Financial Code, § 392.302

et seq. (“Texas Financial Code”).

                                 JURISDICTION and VENUE

       3.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states that

such actions may be brought and heard before “any appropriate United States district court without

regard to the amount in controversy.”

       4.      Defendant conducts business in the State of Texas establishing personal jurisdiction.

       5.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
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                                             PARTIES

       6.      Plaintiff is a natural person residing in Houston, Harris County, Texas.

       7.      Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3) and Texas

Financial Code § 392.001(1).

       8.      Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5) and

Texas Financial Code § 392.001(2).

       9.      Defendant is a business entity with an office located at 6330 Gulfton St., Houston,

Texas 77081.

       10.     Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6) and Texas

Financial Code § 392.001(6).

       11.     Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                  FACTUAL ALLEGATIONS

       12.     Defendant attempted to collect an alleged debt from Plaintiff.

       13.     The alleged debt arose from transactions which were for personal, family and

household purposes.

       14.     As part of its collection activities, Defendant placed telephone calls to Plaintiff at

telephone number, (713) 776-65xx.

       15.     In July of 2013, Defendant made a telephone call to Plaintiff and left him a voicemail

message. See transcribed voicemail, attached hereto as Exhibit A.

       16.     In its voicemail message, Defendant asked Plaintiff to call (800) 926-3136, which is

a number belonging to Defendant. See Exhibit A.

       17.     Defendant left a voicemail message for Plaintiff which failed to meaningfully
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disclose the caller’s identity. See Exhibit A.

        18.     Defendant failed to inform Plaintiff that Defendant, or its employees, is a debt

collector. See Exhibit A.

        19.     Defendant’s message withheld the true nature of its call, to collect a debt, in order to

deceive Plaintiff into calling Defendant.

        20.     Defendant uses deceptive voicemail messages in connection with its attempts to

collect the alleged debt by not disclosing the purpose of its phone calls or that it is a debt collector.

                             COUNT I
    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

        21.     Defendant violated the FDCPA based on the following:

                a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

                    consequence of which is to annoy Plaintiff;

                b. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without

                    meaningful disclosure of the caller’s identity because Defendant did not provide

                    the identity of the caller or the nature of the debt;

                c. Defendant violated §1692e of the FDCPA by using false, deceptive or

                    misleading representation with the collection of the debt;

                d. Defendant violated §1692e(10) of the FDCPA by using false representations

                    and/or deceptive means to attempt to collect a debt; and

                e. Defendant violated §1692e(11) of the FDCPA by failing to disclose in its

                    communication that it is a debt collector.

        WHEREFORE, Plaintiff, MIKE CARLSON, respectfully requests judgment be entered

against Defendant, GC SERVICES, LP. for the following:

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       22.    Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act,

15 U.S.C. § 1692k.

       23.    Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692k.

       24.    Any other relief that this Honorable Court deems appropriate.


                                     COUNT II:
                               DEFENDANT VIOLATED
                             THE TEXAS FINANCIAL CODE

       25.    Defendant violated Texas Financial Code based on, but not limited to, the following:

              a. Defendant violated § 392.304(a)(19) of the Financial Code by using deceptive

                  means to collect a debt.

       WHEREFORE, Plaintiff, MIKE CARLSON, respectfully requests judgment be entered

against Defendant, GC SERVICES, LP. for the following:

       26.    Injunctive relief pursuant to Texas Financial Code § 392.403(a)(1), to prevent

Defendant from further violating the Texas Financial Code.

       27.    Costs and reasonable attorneys’ fees pursuant to Texas Financial Code § 392.403(b).

       28.    Any other relief that this Court deems appropriate.

                                                    RESPECTFULLY SUBMITTED,

       Dated: September 17, 2013                    By: /s/ Ryan Lee
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